           Case 3:23-cr-01379-JLS Document 52 Filed 05/14/24 PageID.182 Page 1 of 2
PROB 12B                                                                                             May 7, 2024
(08/16)                                                                                                pacts id: 8498231




                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                 SOUTHERN DISTRICT OF CALIFORNIA
                       Request for Modifying the Conditions or Term of Supervision

Name of Offender: Hector Robles (English)                                         Dkt. No.: 23CR01379-001-JLS
Name of Sentencing Judicial Officer: The Honorable Janis L. Sammartino, U.S. District Judge
Sentence: 4 months’ custody; 3 years’ supervised release. (Special Conditions:           Refer to Judgment and
Commitment Order.)
Date of Sentence: October 20, 2023
Date Supervised Release Commenced: April 26, 2024
Prior Violation History: None.

                                        PETITIONING THE COURT

TO MODIFY THE CONDITIONS OF SUPERVISION AS FOLLOWS:


Not enter or reside in the Republic of Mexico without permission of the court or probation officer and comply
with both United States and Mexican immigration laws.

Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
           Case 3:23-cr-01379-JLS Document 52 Filed 05/14/24 PageID.183 Page 2 of 2
PROB12B
Name of Offender: Hector Robles                                                                         May 7, 2024
Docket No.: 23CR01379-001-JLS                                                                                Page 2

                                                     CAUSE
Following his release from custody, Mr. Robles commenced his term of supervision in the Southern District of
California, on April 26, 2024. On May 6, 2024, Mr. Robles indicated he would like to travel to Mexicali, when
eligible, for doctor and dentist appointments. However, in reviewing his Judgment and Commitment Order, the
Court did not include the Mexico condition at the time of sentencing. Therefore, the probation officer respectfully
requests Mr. Robles’ conditions of supervised release be modified to include the Mexico travel condition.

As to the vehicles condition, although Mr. Robles currently does not have a vehicle, he plans in obtaining his
California driver’s license and use a vehicle to drive. Therefore, it is respectfully requested that Mr. Robles’
conditions of supervised release be modified to include for him to report all vehicles to the probation officer. This
condition will allow the probation officer to monitor Mr. Robles more effectively in the community.

Mr. Robles has agreed to the proposed modifications of his conditions, as specified herein, and signed a Waiver
of Hearing, which is attached for the Court’s review.

Respectfully submitted:                                       Reviewed and app
                                                                            p roved:
                                                                           approved:
by:

   Fabiola Beltran                                            Lorena
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   U.S. Probation Officer                                     Supervisory U.S. Probation
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                                                                                       bat on Officer
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   (760) 339-4202
Attachments:

THE COURT ORDERS:

   ;      THE MODIFICATION OF CONDITIONS AS NOTED ABOVE
          OTHER




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The
 he Honorable Janis L. Sammartino                                                         Date
U.S.
  S. District Judge
